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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

 

 

)
UNITED STATES OF AMERICA, )
)

v. No. 1:21-cr-00062-3-JJM-PAS
RONALD HALL, )
Defendant. )
)

ORDER

Before the Court is Defendant Ronald Hall’s Motion for a Bill of Particulars,
pursuant to Fed R. Crim. P. 7(. The government charges Mr. Hall with conspiracy
to possess cocaine with the intent to distribute and knowingly and intentionally
possessing cocaine with the intent to distribute in violation of 21 U.S.C. §§ 841 and
846. The indictment alleges that the conspiracy existed “at least as early as March
15, 2021, and continuled] until on or about June 8, 2021.” ECF No. 10 at 1. Mr. Hall
argues that, because the genesis of the government's evidence against him begins on
June 8, 2021, a bill of particulars is necessary to aptly describe alleged wrongdoing
occurring earlier. ECF No. 20-1. Mr. Hall further argues that “the information
sought by his motion for bill of particulars is absolutely necessary to permit Mr. Hall
to adequately prepare a defense....” Jd. The government counters by arguing that
requiring a bill of particulars would constitute disclosure of the government’s trial
strategy. ECF No, 23,

This Circuit has held that “[tIhe function of a bill of particulars is to provide

the defendant with necessary details of the charges against him to enable him to

 
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prepare his defense, to avoid surprise against trial, and to protect against double
jeopardy.” United States v. Abreu, 952. F.2d 1458, 1469 (1st Cir. 1992). To prevent
this from happening, it is not unusual for the government to be required to disclose
information that would be useful to one’s defense. Will v. United States, 389 U.S. 90,
99 (1967). The key inquiry thus becomes whether a lack of a “more detailed
specification” would disable a defendant in their trial preparation. United States v.
DeLeon, 468 F. Supp. 2d 290, 292 (D.N.H. 2007) (citing United States v. Sepulveda,
15 F.3d 1161, 1192 (1st Cir.1993)). Nonetheless, the decision to grant or deny a bill
of particulars lies within the “sound discretion” of this Court. Abreu, 952 F.2d at
1469.

The Court does not agree with the government that Mr. Hall is using his
Motion for a Bill of Particulars as a trial device or a tool for additional discovery.!
Mr. Hall is filing this motion precisely because of the lack of discovery produced on
this issue.2 As the government asserts: “The United States has produced discovery

and will continue to produce any supplemental discovery Gf any is generated), and is

 

1 The cases that the government cites on this issue hold a bill of particulars is
not warranted when discovery was satisfactorily completed. See ECF No. 23 at 2
(citing, for example, Flynn v. United States, 503 U.S. 996 (1992) (holding that a
robust discovery policy “is an adequate ‘satisfactory form’ of information retrieval,
making the bill of particulars unnecessary”)). This group of legal authority is not
persuasive, as it 1s not clear what constitutes a “robust” discovery policy, or whether
the government met that standard.

2 The information sought by the Mr. Hall is like that of the Petitioner in W1//
v. United. States, 389 U.S. 90 (1967). In that matter, the Supreme Court held that
Petitioner could seek, in a bill of particulars, information relating to the name, date,
places, and substance of the statements relied on by the government in trial. Wil v.
United States, 389 U.S. 90, 92 n.1 (1967),

 
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thereby disclosing the evidence that it will use to present its case.” ECF No. 23 at 3.
This yields one of two possible conclusions: either the breadth of the government’s
non-confidential evidence is not being disclosed, or the evidence that will be presented
at trial will unfairly prejudice and surprise Mr. Hall, Either way, the onus is not on
Mr. Hall to ascertain “the nature of the charges ... against [him]”: that is a guarantee
by the Sixth Amendment to the United States Constitution.

Therefore, the Court GRANTS Defendant Ronald Hall’s Motion for Bill of

Particulars. ECF No 20.

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IT IS SO ORD

John J. McConnell, Jv.
Chief United States District Judge

   

RE

     

November 4, 2021

 
